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                      EXHIBIT A

 PLAINTIFF’S AND DEFENDANT’S
 PROPOSED CORRECTIVE NOTICE
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                    UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF CALIFORNIA

    Retiree Support Group of Contra Costa County v. Contra Costa County
                     Case Number CV 12-00944 (JST)

 CORRECTIVE NOTICE REGARDING CLASS ACTION
               SETTLEMENT
                      A federal court has authorized this Notice.
                        This is not a solicitation from a lawyer.


Dear Retiree,

Recently, you received in the mail a letter from AFSCME Retiree Chapter 57,
signed by three of the chapter’s officers: Nadine Peyrucain, Ruth Roe, and Richard
Cabral (“AFSCME Retiree Letter”). That letter concerned the settlement of the
lawsuit Retiree Support Group of Contra Costa County v. Contra Costa County,
currently pending in U.S. District Court for the Northern District of California,
Case Number 12-00944 JST.

That letter was not approved by the Court, and the Court has since determined that
the letter contained several statements that were false and misleading. Accordingly,
the Court has ordered that this letter be sent to correct the false and misleading
statements in the AFSCME Retiree letter.

The Court has ruled that any opt-out forms sent in response to the AFSCME
Retiree letter are invalid. After reading this letter, if you still wish to opt out
of the settlement, you must take further action to opt out. You cannot rely on
the authorization you sent to AFSCME if you still want to opt out of or object
to the Settlement. The Court Notice you received in the mail provides instructions
on how to opt out or object. If you no longer have that Notice, you may view it on
the Court-appointed Settlement Administrator’s website:
http://www.cccsettlement.simpluris.com or contact the Settlement Administrator to
request a new copy at (888) 369-6079 or P.O. Box 26170, Santa Ana, CA 92799.

Here are the statements that the Court found were misleading:
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   1. The AFSCME Retiree Letter stated that the Settlement provides retirees with
      “NOTHING.” This statement was false, and failed to take into account the
      benefits provided by the Settlement. These benefits include, among other
      things, a lifetime, legally enforceable guarantee that retirees and their
      eligible beneficiaries can participate in County plans, and that the County
      will provide specified minimum contributions to health insurance premiums
      for retirees and eligible dependents. The terms of the Settlement are
      explained in more detail in the official Notice from the Court. You can view
      the Notice and the full Settlement on the Settlement Administrator’s website.

      The Settlement protects you against the risk that the County will reduce or
      stop making all contributions to your medical premiums. The AFSCME
      Retiree Letter stated that if you opt out of the settlement, there is no risk to
      your medical benefits because those benefits are “things that can never be
      changed or renegotiated.” However, the dispute over whether this is true was
      one of the core issues in the lawsuit. Throughout the lawsuit, the County has
      maintained that it has no legally binding obligation to pay retiree medical
      benefits at all. This Court has not ruled on whether this is true under the law.
      If you opt out, there is a risk that the County may stop all contributions to
      your medical benefits. Opting out would mean that you have the right to file
      a lawsuit, but there is no guarantee that you would win.

   2. The AFSCME Retiree Letter implied that the Settlement was the reason that
      the County does not and will not contribute to health insurance premiums for
      surviving spouses of deceased retirees. This is untrue. The only retirees
      whose surviving spouses receive County contributions towards medical
      premiums are retirees who get medical benefits through CALPERS. These
      retirees are not part of the class and are not affected by the Settlement. The
      Settlement does not change the way surviving spouses of class members are
      treated.

   3. The AFSCME Retiree Letter implied that the Settlement was the reason that
      Medicare retirees are not pooled with active employees for the purposes of
      setting premiums. This is false. The County has never pooled Medicare
      retirees with active employees.

The AFSCME Retiree Letter stated that the County’s contributions to your health
care costs will never increase under the Settlement. This fails to mention that the
County’s contributions will increase for some retirees in the class under certain
circumstances. Specifically: (1) the County will increase its contributions to
Medicare retirees’ premiums by $25 per month in January 2021; and (2) retirees
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with more than one eligible dependent will be entitled to a larger County
contribution in the event that the County moves to a “three tier” system where
retirees with two or more dependents have higher premiums than those with just
one dependent.

In addition to the false and misleading statements in the letter, the Court found that
the form sent with the AFSCME Retiree Letter was legally deficient and unclear.
The form did not explain what it means to opt out of or object to the Settlement,
and did not explain the difference between the two.

    If you opt out, you are no longer part of the class and you are not covered by
     the Settlement. You will not receive any of the benefits of the Settlement,
     and you will retain the ability to file your own lawsuit about your medical
     benefits should you choose to do so.

    If you object, you are still a member of the class. You will receive the
     protections of the Settlement if it is approved by the Court, and you will give
     up the right to file your own lawsuit about your medical benefits through the
     County. Objecting allows you to voice concerns about the Settlement to the
     Court, but it does not exclude you from the class and you will still be
     covered by the Settlement.

If, after receiving the corrected information in this letter, you still wish to opt out
or object, you may do so by following the directions in the Notice you received
from the Court. When doing so, please be sure to indicate whether you wish to opt
out or to object.
Dated:                                         _______________________________
                                                     Honorable Jon S. Tigar
                                                     United States District Judge
